
712 S.E.2d 885 (2011)
DOBSON
v.
SUBSTITUTE TRUSTEE SERVICES, INC., et al.
No. 260A11-1.
Supreme Court of North Carolina.
August 10, 2011.
John A. Mandulak, Fayetteville, for Wells Fargo Bank Minnesota, N.A., et al.
*886 Celia Pistolis, Raleigh, for Dobson, Linda G.
John C. Lloyd, Raleigh, for Dobson, Linda G.
Anne Jordan Randall, for Dobson, Linda G.
Steven Virgil, Winston-Salem, for N.C. Association of Community Development Corporations.
Carlene M. Mcnulty, for NC Justice Center, et al.
The following order has been entered on the motion filed on the 5th of August 2011 by N.C. Association of Community for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 10th of August 2011."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
